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 1   DAVID L. NEALE (State Bar No. 141225)
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 5
     Able Events Inc,
 6
     fka ROKit Marketing Inc.
 7

 8                       UNITED STATES BANKRUPTCY COURT
 9
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11                                          )
     ABLE EVENTS INC,                       )   Case No 2:22−bk−11344−SK
12   fka ROKit MARKETING INC.               )
                                            )
13        Debtor                            )   SUBMISSION    OF   CORPORATE
                                            )   RESOLUTION       AUTHORIZING
14                                              FILING OF PETITION UNDER
                                            )
                                            )   CHAPTER 11 OF THE BANKRUPTCY
15
                                            )   CODE
16                                          )
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